Case 2:08-cv-01021-PSG-RC Document 9-43 Filed 02/19/08 Page1of10 Page ID #:228

EXHIBIT PP
Case 2:08-cv-01021-PSG-RC Document 9-43 Filed 02/19/08 Page 2of10 Page ID #:229

SD wr

Geraldine A. Wyle (SBN 89735)
Jeryll S. Cohen (SBN 125392)
Jeffrey D. Wexler (SBN 132256)
Vivian Lee Thoreen (SBN 224162)

LUCE FORWARD HAMILTON & SCRIPPS LLP

601 South Figueroa, Suite 3900
Los Angeles, California 90017
Telephone: (213) 892-4992
Facsimile: (213) 892-7731

Attorneys for James P. Spears,
Temporary Conservator of the Person and
Temporary Co-Conservator of the Estate

FEB 07 Zack

LOS ANGELES
SUPERIOR COURT

SUPERIOR COURT OF THE STATE OF CALIFORNIA
COUNTY OF LOS ANGELES, CENTRAL DISTRICT

In re the Conservatorship of the Person and the
Estate of:

BRITNEY JEAN SPEARS,

Temporary Conservatee.

CASE NO. BP 108870

EX PARTE APPLICATION FOR ORDER:
(1) GRANTING POWER TO FIRE
HOWARD GROSSMAN; (2) REQUIRING
HOWARD GROSSMAN TO TURN OVER
ALL DOCUMENTS AND RECORDS; AND
(3) TO TURN OVER ALL ASSETS
RELATING TO BRITNEY SPEARS;
MEMORANDUM OF POINTS AND
AUTHORITIES

Date: February 7, 2008

Time: 1:30 p.m.

Department: 9

Judge: Hon. Reva Goetz, Judge Pro Tem

1

EX PARTE APP. FOR ORDER RE HOWARD GROSSMAN; MEMO. OF Ps & As

Case 2:08-cv-01021-PSG-RC Document 9-43 Filed 02/19/08 Page 3of10 Page ID #:230

PLEASE TAKE NOTICE that James P. Spears (“Mr. Spears”) as Temporary
Conservator of the Person and Temporary Co-Conservator of the Estate of Britney Jean Spears,
the father of temporary conservatee Britney Jean Spears (“Britney”), will, and hereby does,
respectfully apply to the Court ex parte for an Order:

(1) granting authority to Mr. Spears and Andrew M. Wallet as

Temporary Co-Conservators of the Estate of Britney Jean Spears (collectively, the

“Temporary Co-Conservators”) to fire Howard Grossman (“Mr. Grossman”),

Britney’s business manager;

(2) requiring Mr. Grossman, and his partners, agents, attorneys,

employees, or anyone acting in concert with them, to immediately turn over to the

Temporary Co-Conservators any and all documents and records relating to the

assets, debts, and liabilities of (i) Britney, (ii) any trust as to which Britney is a

trustee or beneficiary, or (iii) any corporation or business entity of which Britney

is an owner, including but not limited to all contracts, information relating to

credit cards, bank statements, checkbooks, passbooks, estate planning documents,

receivables, tax returns, letters from tax reporting authorities, tax reporting

documents, title documents, and any and all powers of attorney; and

(3) requiring Mr. Grossman, and his partners, agents, attorneys,

employees, or anyone acting in concert with them, to immediately turn over all of

Britney’s assets, including, but not limited to keys, safe deposit keys, deeds,

contracts, money, securities, bonds, and stock certificates.

This application is based on this Application, the Memorandum of Points and Authorities
filed concurrently herewith, the Declarations of Geraldine A. Wyle, Jeryll S. Cohen, Jeffrey D.
Wexler, and Vivian Lee Thoreen filed concurrently herewith, the [Proposed] Order lodged
concurrently herewith, and such argument as may be presented in connection with the
Application.

As set forth in the Declaration of Vivian Lee Thoreen filed concurrently herewith, Mr.

Spears gave notice to Samuel Ingham III, PVP counsel for Britney, of this Application by an e-

2

EX PARTE APP. FOR ORDER RE HOWARD GROSSMAN; MEMO. OF Ps & As

Case 2:08-cv-01021-PSG-RC Document 9-43 Filed 02/19/08 Page 4of10 Page ID #:231

mail sent on February 6, 2008. Mr. Ingham stated that he consents to the Application and will

appear at the hearing on the Application.

DATED: February 7, 2008 Respectfully submitted,

LUCE, F ORWARD, HAMILTON & SCRIPPS Lip

OY

Ys iy Cohen

Attémeys for Temporary Conservator
of the Person and Temporary Co-Conservator
of the Estate James P. Spears

3

EX PARTE APP. FOR ORDER RE HOWARD GROSSMAN; MEMO. OF Ps & As

Case 2:08-cv-01021-PSG-RC Document 9-43 Filed 02/19/08 Page 5of10 Page ID #:232

MEMORANDUM OF POINTS AND AUTHORITIES

INTRODUCTION

Howard Grossman (“Mr. Grossman”) is the business manager for temporary conservatee
Britney Jean Spears (“Britney”). James P. Spears (“Mr. Spears”) as Temporary Conservator of
the Person and Temporary Co-Conservator of the Estate of Britney Jean Spears brings this ex
parte application asking the Court: (1) to grant authority to Mr. Spears and Andrew M. Wallet as
Temporary Co-Conservators of the Estate of Britney Jean Spears (collectively, the “Temporary
Co-Conservators”) to fire Mr. Grossman; (2) to require Mr. Grossman to turn over to the
Temporary Co-Conservators all documents and records relating to Britney and her estate; and
(3) to require Mr. Grossman to tum over to the Temporary Conservatees all of Britney’s assets.

Mr. Spears seeks this relief based upon Mr. Grossman’s efforts to circumvent the Court’s
conservatorship Orders and his failure to comply with those Orders or with the instructions of
Mr. Spears and Andrew M. Wallet, temporary co-conservator of the Estate (collectively, the
“Temporary Co-Conservators”). On the afternoon of Wednesday, February 6, 2008 alone, Mr.
Grossman, after receiving copies of the Orders entered by the Court earlier that day: (1) made
arrangements for Britney to meet with visitors, in violation of the Court’s express Order that Mr.
Spears has the power to restrict and limit visitors; (2) set up and attended a meeting for Britney
with counsel other than her PVP counsel, in violation of the Court’s express Order that any such
meeting was subject to Mr. Spears’ approval and that Mr. Spears was entitled to attend that
meeting, without informing that counsel of the Court’s Order prohibiting that meeting, and in
violation of the Temporary Co-Conservators’ instructions that he was not to attend that meeting;
and (3) sent an automobile to Britney without the consent of the Temporary Co-Conservators and
in violation of their instructions concerning that automobile. Mr. Grossman also refused to
provide Mr. Spears’ counsel with copies of e-mails that he exchanged with Osama (“Sam”) Lutfi
(“Mr. Lutfi”) in which Mr. Lutfi made various demands.

Because of Mr. Grossman’s conduct, the relationship between Mr. Grossman and the
Temporary Co-Conservators has been irreparably ruptured, and the Temporary Co-Conservators

believe that they cannot trust Mr. Grossman to follow instructions that they give in fulfillment of

4
EX PARTE APP. FOR ORDER RE HOWARD GROSSMAN; MEMO. OF Ps & As

Case 2:08-cv-01021-PSG-RC Document 9-43 Filed 02/19/08 Page 6of10 Page ID #:233

their obligations as conservators. Accordingly, Mr. Spears respectfully asks the Court: (1) to
grant the Temporary Conservators the authority to fire Mr. Grossman; (2) to require Mr.
Grossman to turn over all records and documents relating to Britney and her assets; and (3) to

require Mr. Grossman to turn over all of Britney’s assets.

PROCEDURAL HISTORY

On Friday, February 1, 2008, this Court granted Mr. Spears’ petitions to create
conservatorships over Britney’s person and her estate. On Wednesday, February 6, 2008, the
Court entered an Order Extending Temporary Letters of Conservatorship of the Person filed by
the Court (the “Order re the Person”) and an Order Extending Temporary Letters of
Conservatorship of the Estate (the “Order re the Estate”).

The Order re the Person granted Mr. Spears as the temporary conservator of the person
the powers, inter alia: (1) “to restrict and limit visitors by any means;” (2) “to retain caretakers
for [Britney] on a 24 hour/7 day basis;” and (3) “to retain security guards for [Britney] on a 24
hour/7 day basis.” Order re the Person at 3, | O(a), (b).

The Order re the Estate granted the Temporary Co-Conservators the power:

. .. to obtain all documents and records relating to the Conservatee and her assets,
whether held in her name or in the name of another, including but not limited to,
all records currently in the possession and control of the Conservatee’s business
manager, Howard Grossman, her attomeys, and others, all contracts, information
relating to credit cards, bank statements, estate planning documents, receivables,
and any and all powers of attorney

Order re the Estate at 3, J 6(a).

The Order re the Estate also granted the Temporary Co-Conservators the power, inter
alia: (1) “to obtain all documents and records relating to [Britney] and her assets;” (2) “to take
all actions necessary to secure [Britney’s] assets;” and (3) “[t]o take all actions necessary to
secure [Britney’s] liquid assets.” Jd. at 3-4, 1] 6(a), (b), (c).

While the Order re the Estate granted the Temporary Co-Conservators the power “[t]o
employ attorneys, accountants, investment counsel, agents, depositaries, and employees,” id. at

4, { 7(d), it did not grant them the power to fire such personnel.

5

EX PARTE APP. FOR ORDER RE HOWARD GROSSMAN; MEMO. OF Ps & As

Case 2:08-cv-01021-PSG-RC Document 9-43 Filed 02/19/08 Page 7of10 Page ID #:234

tos

FACTUAL BACKGROUND

On February 5, 2008, Jeryll S. Cohen of Luce, F orward, Hamilton & Scripps LLP (“Luce
Forward”), counsel for Mr. Spears, had a telephone conversation with Mr. Grossman about
various matters relating to securing Britney’s assets pursuant to the Order re the Estate. See
Declaration of Jeryll S. Cohen (“Cohen Decl.”), | 2. During that telephone conversation, Mr.
Grossman told Ms. Cohen that he had numerous e-mails from Osama (“Sam”) Lutfi in which
Mr. Lutfi made various demands, including demands for money. See id. Mr. Grossman told Ms.
Cohen that he did not comply with Mr. Lutfi’s demands. See id. During this conversation, Ms.
Cohen requested that Mr. Grossman provide her with copies of all of his e-mail correspondence
from Mr. Lutfi. See id.

On February 6, 2008, at approximately 9:01 a.m., Ms. Cohen sent Mr. Grossman an e-
mail requesting that he provide copies of the e-mails to and from Mr. Lutfi. See id., 93, Ex. A.
Thereafter, Mr. Grossman refused to provide copies of any such e-mails. See id., ¥ 3.

At 12:23 p.m. on February 6, 2008, Jeffrey D. Wexler of Luce Forward, also counsel for
Mr. Spears, e-mailed copies of the Orders to Mr. Grossman. See Declaration of Jeffrey D.
Wexler (“Wexler Decl.”), 9 3, Ex. A. Mr. Grossman had attended and testified at the February 4,
2008 hearing pursuant to which the Court entered the Orders. See Cohen Decl., ¥ 5.

At 1:09 p.m. on February 6, 2008, Mr. Wexler sent Mr. Grossman an e-mail asking him
to let Mercedes-Benz of Beverly Hills know that Mr. Spears would be sending someone on
February 6, 2008 or February 7, 2008 to pick up Britney’s two cars that were waiting at the
repair shop for pick-up. See Wexler Decl., {1 4, Ex. B. Soon thereafter, Mr. Grossman asked his
assistant to authorize Mr. Spears’ representative to pick up the cars, and she confirmed that she
had done so. See id., J§ 5-6, Exs. C, D.

At approximately 3:21 p.m. and 3:23 p.m. on February 6, 2008, Ms. Cohen sent two e-
mails to Mr. Grossman regarding the Order re the Person. See Cohen Decl., § 6, Ex. A. Ms.
Cohen told Mr. Grossman that he was not permitted to give Britney any money, credit cards or
access to money or credit cards, or to meet with Britney at this time at the Beverly Hills Hotel or

anywhere else. See id.

6

EX PARTE APP. FOR ORDER RE HOWARD GROSSMAN; MEMO. OF Ps & As

Case 2:08-cv-01021-PSG-RC Document 9-43 Filed 02/19/08 Page 8of10 Page ID #:235

At some time after 12:23 p.m. on the afternoon of February 6, 2008, Mr. Grossman met
with Britney and Adam Streisand (“Mr. Streisand”) of Loeb & Loeb LLP at the Beverly Hills
Hotel to discuss Mr. Streisand’s potential representation of Britney with regard to this matter.
See Declaration of Geraldine A. Wyle (“Wyle Decl.,”), 3; Cohen Decl., | 7. Mr. Grossman did
not provide Mr. Streisand with copies of the Orders or inform him of the contents of those
Orders, even though the Order re the Person expressly provided that: (1) Mr. Spears had the
power to restrict and limit visitors by any means; (2) all meetings between Britney and any
attorneys other than her court-appointed attomey, Sam Ingham III, are subject to Mr. Spears’
approval, including the location for the meeting; and (3) Mr. Spears had the power to be present
with his attorneys at any such meeting and to ensure that there is adequate security. See id. Ina
phone call later on F ebruary 6, 2008, Mr. Grossman denied to Ms. Cohen that he had been
present at the meeting with Britney and Mr. Streisand at the Beverly Hills Hotel earlier that day.
See Cohen Decl., ¥ 9.

Later on the afternoon of February 6, 2008, upon learning that Mr. Grossman and Mr.
Streisand had met with Britney, Geraldine A. Wyle of Luce Forward, also counsel for Mr.
Spears, immediately notified attorneys at Loeb & Loeb of the existence of the Orders and the
prohibitions upon attorney conduct set forth therein. See Wyle Decl, ] 4. Thereafter, Ms. Wyle
spoke with Mr. Streisand, who told her that he had been unaware of the Orders or their contents
and that he had immediately discontinued his meeting with Britney upon being informed about
the Orders. See id.

At approximately 8:00 p.m. on F ebruary 6, 2008, Ms. Cohen spoke with Mr. Grossman
on the telephone. See Cohen Decl., 4 8. Mr. Grossman told Ms. Cohen that earlier that day, he
had directed Mercedes-Benz of Beverly Hills to deliver one of Britney’s cars to the Beverly Hills
Hotel for her, without the knowledge and consent of the Temporary Co-Conservators. See id
Ms. Cohen reminded Mr. Grossman of the contents of the Orders and the fact that Britney’s
assets were not subject to her control, but rather were subject to the control of the Co-

Conservators. See id. Mr. Grossman told Ms. Cohen that he had instructed Mercedes-Benz of

7

EX PARTE APP. FOR ORDER RE HOWARD GROSSMAN; MEMO. OF Ps & As

Case 2:08-cv-01021-PSG-RC Document 9-43 Filed 02/19/08 Page 9of10 Page ID #:236

Beverly Hills to deliver a car to Britney because she had asked him to and he wanted to comply
with her request because he wanted to “build her confidence in him.” See id.

On February 7, 2008, at approximately 8:06 a.m., Mr. Grossman sent a response to Ms.

Cohen’s e-mails. See id., 10, Ex. C.

LEGAL ARGUMENT

I. THERE IS GOOD CAUSE FOR GRANTING THE TEMPORARY Co-
CONSERVATORS AUTHORITY TO FIRE MR. GROSSMAN.

As the facts set forth above demonstrate, Mr. Grossman has engaged in conduct to

circumvent the Orders and has failed to comply with those Orders or with the instructions of the
Temporary Co-Conservators. Because of Mr. Grossman’s conduct, the Temporary Co-
Conservators have lost all confidence in their ability to work with Mr. Grossman and Mr.
Grossman’s willingness to follow instructions that they give in fulfillment of their obligations as
conservators. Accordingly, Mr. Spears respectfully asks the Court to grant the Temporary Co-

Conservators the authority to fire Mr. Grossman.

Il. THERE IS GOOD CAUSE FOR REQUIRING MR. GROSSMAN TO TURN
OVER ALL DOCUMENTS AND RECORDS RELATING TO BRITNEY AND
HER ASSETS.
The Order re the Estate already grants the Temporary Co-Conservators “the power to

obtain all documents and records relating to [Britney] and her assets, whether held in her name
or in the name of another, including but not limited to, all records currently in the possession and
control of [Britney’s] business manager, Howard Grossman... .” Order re the Estate at 3, { 6(a).
For this reason alone, the Court should require Mr. Grossman to turn over to the Temporary Co-
Conservators all documents and records relating to Britney and her assets, regardless of whether
it grants the Temporary Co-Conservators authority to fire Mr. Grossman.

Even if the powers already granted by the Order re the Estate were insufficient to require
Mr. Grossman to turn over documents and records relating to Britney and her assets — which they
are not — in the event that the Temporary Co-Conservators were granted authority to terminate

Mr. Grossman’s employment and decided to exercise that authority, it would follow that Mr.

8

EX PARTE APP. FOR ORDER RE HOWARD GROSSMAN; MEMO. OF Ps & As
Case 2:08-cv-01021-PSG-RC Document 9-43 Filed 02/19/08 Page 10of10 Page ID #:237

l Grossman would be required to turn over such documents and records as a result of the
2 termination of his employment.
3 CONCLUSION
4 For the reasons set forth herein, Mr. Spears respectfully asks the Court to enter an Order
5 granting the Co-Conservators authority to fire Mr. Grossman and requiring Mr. Grossman to tum
6 | over all documents and records relating to Britney and her assets.
7
3 DATED: February 7, 2008 Respectfully submitted,
9 LUCE, FORWARD, HAMILTON & SCRIPPS LLP
10 ; iN
11 By. y \h /
Jery IS. “phot
12 \ Attorneys for Temporary Conservator
of the Person and Temporary Co-Conservator
13 of the Estate James P. Spears
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
9
EX PARTE APP. FOR ORDER RE HOWARD GROSSMAN; MEMO. OF Ps & As

